                                          Case 4:23-cv-05761-HSG Document 22 Filed 12/27/23 Page 1 of 3




                                   1                                     UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

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                                             6PLWKHWDO                                            FY+6*
                                   4                                                ,       Case No.
                                                         Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                  v.                                        ATTORNEY PRO HAC VICE
                                   6
                                            ,QWHO&RUSRUDWLRQ                              (CIVIL LOCAL RULE 11-3)
                                   7                                                ,
                                                         Defendant(s).
                                   8

                                   9

                                  10          I, 'DYLG6.XUW]HU(OOHQERJHQ, an active member in good standing of the bar of
                                        'LVWULFWRI&ROXPELD
                                  11                                          , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: 'HIHQGDQW,QWHO&RUSRUDWLRQ        in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is &KDUOHV+6DPHO                  , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                      6%1
                                       within the State of California. Local co-counsel’s bar number is: _________________.
                                        :LOOLDPV &RQQROO\//3                              6WRHO5LYHV//30RQWJRPHU\6WUHHW6XLWH
                                  16                                                         6DQ)UDQFLVFR&$
                                        0DLQH$YH6::DVKLQJWRQ'&
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18                                              
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                        GNXUW]HU#ZFFRP                                  FKDUOHVVDPHO#VWRHOFRP
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is:                .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                   RQH
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                           Case 4:23-cv-05761-HSG Document 22 Filed 12/27/23 Page 2 of 3




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 'HFHPEer 21, 2023                                   V'DYLG6.XUW]HU(OOHQERJHQ
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                           FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of 'DYLG6.XUW]HU(OOHQERJHQ is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:            12/27/2023

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                                                                                   UNITED STATES DISTRICT JUDGE
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                                       Updated 11/2021                                     2
   Case 4:23-cv-05761-HSG Document 22 Filed 12/27/23 Page 3 of 3




       On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                       the District of Columbia Bar does hereby certify that



                 David S Kurtzer-Ellenbogen
     was duly qualified and admitted on October 4, 2004 as an attorney and counselor entitled to
      practice before this Court; and is, on the date indicated below, an Active member in good
                                          standing of this Bar.




                                                                           In Testimony Whereof,
                                                                       I have hereunto subscribed my
                                                                      name and affixed the seal of this
                                                                             Court at the City of
                                                                     Washington, D.C., on May 09, 2023.




                                                                           JULIO A. CASTILLO
                                                                            Clerk of the Court




                                                        Issued By:


                                                                        David Chu - Director, Membership
                                                                       District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
